      Case 2:18-cr-00422-DJH Document 1062 Filed 10/05/20 Page 1 of 4



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16
17                        IN THE UNITED STATES DISTRICT COURT

18                             FOR THE DISTRICT OF ARIZONA

19
     United States of America,                                No. CR-18-422-PHX-SMB
20
                           Plaintiff,
21            v.                                        UNITED STATES’ RESPONSE TO
                                                         JAMES LARKIN’S MOTION TO
22   Michael Lacey, et al.,                                  CONTINUE TRIAL
                                                                 (CR 1058)
23                         Defendants.

24          Defendant Larkin has filed, and all Defendants have joined, a Motion to Continue
25   the trial for the fifth time. Defendants cite two reasons for this request: (1) Attorney
26   Bernstein’s pregnancy and upcoming maternity leave and (2) the COVID-19 health
27   pandemic.     Due to the COVID-19 pandemic and the uncertainty it brings to whether the
28   trial can currently be conducted in a manner that ensures the health and safety of all trial
      Case 2:18-cr-00422-DJH Document 1062 Filed 10/05/20 Page 2 of 4




 1   participants, and the specific circumstances cited by Ms. Bernstein, the government does
 2   not oppose Defendants’ request. But although there is no opposition, certain portions of
 3   the motion warrant discussion.
 4                                       VICTIMS’ RIGHTS
 5          As the Court recognized in its Order granting Defendants’ third request for a
 6   continuance, both victims and the public have a right to proceedings free from
 7   unreasonable delay under the Crime Victims’ Right Act. (CR 893 at 5.) When contacted
 8   for its position on this motion, the government indicated it would not oppose the request,
 9   but needed to seek input from the victims. Exhibit A. Defense counsel agreed to represent
10   the government’s position in its motion to the Court. Id. Rather than doing so, Defendants’
11   motion instead states the government “seek[s] input from its witnesses prior to providing
12   its position.” (CR 1058 at 1) (emphasis added.) Defendants’ inability to recognize the
13   victims as victims or even alleged victims and incorrectly stating the government’s
14   position, impinges upon a victim’s right to be treated with fairness and with respect for the
15   victim’s dignity. 18 U.S.C. § 3771(a)(8). 1
16          After conferring with the victims and the next of kin of the deceased victims, the
17   overall consensus is that this process is taking entirely too long. Preparing for trial is an
18   emotional and painful process for the victims and it is traumatizing each time there is a
19   delay. One victim representative expressed a belief that this is a “manipulative ploy to
20   drag this out thinking we’re gonna lose interest and go away.” Another victim believes
21   this is just “yet another tactic to keep their freedom longer.”
22          The Court takes the rights of victims seriously. (CR 893 at 5.) It previously
23   acknowledged, “[a] continuance may represent far more than mere inconvenience” to
24   victims—particularly the victims who have already waited nearly two and a half years for
25
            1
26            As this Court is aware from previous pleadings and the Superseding Indictment,
     the victims fall into several categories. Certain victims were underage (14 and 15 years
27   old) at the time they were trafficked on Backpage. Other victims were being abused by
     pimps who also were posting them on Backpage. Lastly, several of the victims are family
28   member representatives of victims who were murdered as a result of being posted on
     Backpage. (See CR 920).

                                                   -2-
      Case 2:18-cr-00422-DJH Document 1062 Filed 10/05/20 Page 3 of 4




 1   their day in court. Id. As such, it is not surprising that the victims’ desire for certainty and
 2   closure is increasing with the passage of time. While the COVID-19 health pandemic has
 3   created its own challenges regarding moving this case forward to trial, the victims seek
 4   closure and would like to proceed to trial as soon as possible as they are looking forward
 5   to moving on with their lives.
 6                                      TRIAL DEADLINES
 7          If the Court is inclined to continue the trial date, Defendants seek a concomitant
 8   extensions of related deadlines. (CR 1058 at 1.) As the Court has noted, the motions in
 9   limine deadline has passed and will not be reset. (CR 1031.) The substantive motions
10   deadline has also long since passed. 2 (CR 664.) The government has no objection to an
11   extension of the pending deadlines described below if the trial date is continued and
12   respectfully requests that no further substantive motions be permitted.
13
14    Document                                                             Current Deadline
15    Government’s Disclosure of Final Exhibit and Witness List            December 14, 2020
16    Defendants’ Disclosure of Final Exhibit and Witness List             December 21, 2020
17    Parties Joint Submission of Proposed Jury Instructions, Verdict December 21, 2020
      Form, Voir Dire, and Statement of the Case
18
19   (CR 1031.)
20                                         CONCLUSION
21          Once again, the government does not oppose Defendants’ request, given the specific
22   circumstances, but notes that if granted, this case will proceed to trial more than three years
23   after the indictment was filed. This will be the fifth continuance. Absent the public health
24   emergency and Ms. Bernstein’s maternity leave, the parties were preparing for trial in
25   January 2021. The government has expended significant time and resources preparing for
26
27
            2
28           Despite the substantive motion deadline passing, Defendants continue to file
     motions based on information they had prior to the deadline. (See CR 940 and 1059.)

                                                  -3-
      Case 2:18-cr-00422-DJH Document 1062 Filed 10/05/20 Page 4 of 4




 1   trial and the victims are hopeful the trial can proceed as soon as possible without
     unreasonable delay.
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 3
 4          Respectfully submitted this 5th day of October, 2020.

 5
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16                                            Child Exploitation and Obscenity Section

17
18
                                 CERTIFICATE OF SERVICE
19
20          I hereby certify that on this same date, I electronically transmitted the attached

21   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

22   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance

23   as counsel of record.

24   s/ Marjorie Dieckman
     Marjorie Dieckman
25   U.S. Attorney’s Office

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28


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